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 4
     Attorney for Defendant, MARIO SAIZ
 5

 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             )                   Case No.:1:08-cr-00379 OWW
                                           )
11                     Plaintiff,          )                   STIPULATION AND ORDER TO
                                           )                   EXTEND TIME FOR COMPLETION
12   v.                                    )                   OF PROPERTY BOND
                                           )
13   MARIO SAIZ                            )
                                           )
14                     Defendant.          )
                                           )
15   _____________________________________ )

16           The property bond in the amount of the $50,000 was to be completed on or before December

17   19, 2008. Counsel for the defendant, Dale A. Blickenstaff, underwent knee replacement surgery and

18   has been unable to attend his office. His secretary has all but completed the property bond, but an

19   additional week is necessary to have owners notarize appropriate documents and finalize the matter.

20           THEREFORE, it is stipulated that the matter of the completion of the property bond be

21   extended to December 31, 2008. All conditions of pretrial release, heretofore ordered to remain the

22   same.

23   //

24   //

25   //

26   //

27   //

28                   Stipulation and Proposed Order to Extend Time for Completion of Property Bond
                                              Case No.:1:08-cr0379 OWW
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 1                                                     Respectfully submitted,

 2

 3   DATED: December 18, 2008                          /s/ Dale A. Blickenstaff
                                                       DALE A. BLICKENSTAFF
 4                                                     Attorney for Defendant, Mario Saiz

 5

 6   DATED: December 18, 2008                          /s/ Marlon Cobar
                                                       MARLON COBAR
 7                                                     Assistant United States Attorney

 8

 9                                                     ORDER

10            The matter of the completion of the property bond shall be extended to December 31,

11   2008 and that the conditions of pretrial release are to remain the same.

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15   IT IS SO ORDERED.

16   Dated:     December 19, 2008                         /s/ Sandra M. Snyder
     icido3                                        UNITED STATES MAGISTRATE JUDGE
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28                    Stipulation and Proposed Order to Extend Time for Completion of Property Bond
                                               Case No.:1:08-cr0379 OWW
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